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                                UNITED STATES BANKRUPTCY COURT
                                            FOR THE
                                 WESTERN DISTRICT OF KENTUCKY

     IN RE:                              )
                                         )
     ARVIN LEO WRIGHT                    )               CASE NO. 17-32710
           Debtor                        )               Chapter 7
     ____________________________________)

                    MOTION FOR AUTHORITY TO PAY DEBTOR’S
                     EXEMPTION OF 4104 MASON WOODS LANE
              Wm. Stephen Reisz, trustee of the bankruptcy estate of Arvin Leo Wright,
     moves this court to pay Debtor’s exemption of 4101 Mason Woods Lane in the amount
     of $10,800.

              To support this motion, Trustee states that on his amended Schedule C [Doc
     25], filed October 25, 2018, debtor claimed an exemption under 11 U.S.C. §522(d)(5)
     for his interest in 4101 Mason Woods Lane, Daviess County. No objections were
     filed to the exemption claim. Trustee has received $15,943.13 surplus funds from the
     Daviess County Commissioner in the forclosure proceeding of that property. A copy
     of the Order Directing Distribution of Monies in that foreclosure proceeding is
     attached as Exhibit 1.

              WHEREFORE, Trustee request this Court authorize the payment of Debtor’s
     exemption in the amount of $10,800.00 for his interest in 4101 Mason Woods Lane,
     Daviess County.

                                                  Respectfully submitted,
                                                    /s/ Wm. Stephen Reisz
                                                  Wm. Stephen Reisz, Trustee
                                                  401 W. Main St., Ste. 1400
                                                  Louisville, Kentucky 40202
                                                  (502) 584-1000
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                                 CERTIFICATE OF SERVICE
             I hereby certify that a copy of the foregoing was on May 10, 2019 sent
     electronically through the US Bankruptcy Court’s ECF system at the electronic
     addresses set forth in the ECF system to all other parties receiving electronic
     notifications in this case.

                                                /s/ Wm. Stephen Reisz
                                               Wm. Stephen Reisz
